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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


                                                                Chapter 11

In re:                                                          Case No. 17-12307 (BLS)

M & G USA CORPORATION, et al.,1                                 (Jointly Administered)

                                    Debtors.                    Objection Deadline: December 27, 2017 at 4:00 p.m.
                                                                (ET)




               SUMMARY OF FIRST MONTHLY APPLICATION
                   OF JONES DAY FOR ALLOWANCE OF
            COMPENSATION FOR SERVICES RENDERED AND FOR
       REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE DEBTORS
    FOR THE PERIOD FROM OCTOBER 31, 2017 THROUGH NOVEMBER 30, 2017

Name of Applicant:                                           Jones Day

Authorized to Provide Professional Services to: The above-captioned Debtors

Period for which compensation and
reimbursement are sought:                                    October 31, 2017 through November 30, 2017

Amount of Compensation sought as actual,
reasonable, and necessary:                                   $1,575,370.00 (80% of $1,969,212.50)

Amount of Expense Reimbursement sought as
actual, reasonable, and necessary:                           $10,310.08
                                                             November 30, 2017, nunc pro tunc to October
Date of Order Approving Retention:
                                                             30, 2017

This is a(n): X monthly              interim        final application




1
         The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
         numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M &
         G Polymers USA, LLC (7593), M&G Finance Corporation (4230), M&G Waters USA, LLC (2195), Mossi
         & Ghisolfi International S.à r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à r.l. (7812), M & G
         USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo
         American Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears
         Road, Suite 240, Houston, Texas 77067.



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The total time expended for fee application preparation is approximately 13.30 hours and the
corresponding compensation requested is approximately $3,632.50.


Prior Applications Filed:
           Date / Docket                   Month Covered                  Fees        Expenses
               N/A                             N/A                        N/A           N/A




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                                  SUMMARY OF COMPENSATION REQUESTED BY TIMEKEEPER FOR THE COMPENSATION PERIOD
                                                         October 31, 2017 - November 30, 2017


Name                      Title/Group/Bar Year                                                      Billing Rate   Hours Billed     Total Fees
                                                                                                        2017             Oct-17 / Nov-17
              PARTNERS
B P Barragate             Partner/Banking & Finance/1996                                             $1,050.00             0.40             $420.00
C E Black                 Partner/Business Restructuring & Reorganization/1998                        $950.00            184.80         $175,560.00
V S Chang                 Partner/Employee Benefits & Executive Compensation/2003                     $850.00             34.20          $29,070.00
M J Cohen                 Partner/Business Restructuring & Reorganization/2002                        $950.00            160.60         $152,570.00
R H Da Silva Ashley       Partner/Banking & Finance/2006                                              $875.00            129.50         $113,312.50
M F Eaton                 Partner/Employee Benefits & Executive Compensation/2006                     $850.00              4.80           $4,080.00
P L Eschbach-Hall         Partner/Employee Benefits & Executive Compensation/1999                     $800.00              3.50           $2,800.00
R S Faxon                 Partner/Business & Tort Litigation/1992                                     $875.00             51.10          $44,712.50
S J Greenberg             Partner/Business Restructuring & Reorganization/2002                       $1,025.00           124.00         $127,100.00
T A Hamilton              Partner/Government Regulation/1993                                          $825.00              4.70           $3,877.50
W A Herzberger            Partner/Real Estate/1987                                                    $825.00              1.00             $825.00
K P Holewinski            Partner/Government Regulation/1987                                          $950.00              1.50           $1,425.00
E Kaplan                  Partner/Employee Benefits & Executive Compensation/2003                     $800.00              0.40             $320.00
J Kastin                  Partner/Labor & Employment/2002                                             $925.00             12.90          $11,932.50
C E Laduzinski            Partner/Tax/2001                                                           $1,000.00            11.30          $11,300.00
H Lennox                  Partner/Business Restructuring & Reorganization/1992                       $1,100.00             0.30             $330.00
D J Merrett               Partner/Business Restructuring & Reorganziation/2007                        $700.00            198.30         $138,810.00
E Miller                  Partner/Employee Benefits & Executive Compensation/1981                    $1,075.00             1.10           $1,182.50
S J Parrinello            Partner/Tax/2007                                                            $900.00              1.00             $900.00
R A Profusek              Partner/Mergers & Acquisitions/1975                                        $1,300.00            15.90          $20,670.00
A Riva                    Partner/Labor & Employment/1984                                             $900.00             10.00           $9,000.00
J Sottile, IV             Partner/Business & Tort Litigation/1985                                    $1,000.00            30.70          $30,700.00
F Squerzoni               Partner/Banking & Finance/1998                                              $825.00             18.00          $14,850.00
J D Symons                Partner/Mergers & Acquisitions/1997                                        $1,050.00            13.10          $13,755.00
R C Thomas                Partner/Antitrust & Competition Law/2000                                    $925.00             17.10          $15,817.50
                                                                               Total Partners                          1,030.20        $925,320.00
             OF COUNSEL
A Cantarelli              Of Counsel/Banking & Finance/2006                                           $650.00             17.50          $11,375.00
L M Cirando               Of Counsel/Insurance Recovery/1993                                          $900.00              3.40           $3,060.00
G V Mezzapesa             Of Counsel/Antitrust & Competition Law/2001                                 $650.00             16.40          $10,660.00
C Sheng                   Of Counse/Mergers & Acquisitions/2002                                       $900.00              7.70           $6,930.00
                                                                            Total Of Counsel                              45.00          $32,025.00
            ASSOCIATE
A M Bailes                Associate/New Lawyers Group/2017                                            $375.00            18.70           $7,012.50
D Barav-Johnson           Associate/Business Restructuring & Reorganization/2014                      $450.00            14.00           $6,300.00
A M Bomberger             Associate/Mergers & Acquisitions/2009                                       $550.00            42.90          $23,595.00
B J Broadwater            Associate/Business & Tort Litigation/2008                                   $800.00            42.80          $34,240.00
K M Brockmeyer            Associate/Antitrust & Competition Law/2011                                  $650.00            15.20           $9,880.00
J R Browning, Jr.         Associate/Business & Tort Litigation/2013                                   $425.00             5.70           $2,422.50
L M Buonome               Associate/Business Restructuring & Reorganization/2009                      $750.00            88.40          $66,300.00
S L Corr-Irvine           Associate/Business Restructuring & Reorganization/2009                      $775.00           280.50         $217,387.50
C S Dodrill               Associate/Business & Tort Litigation/2008                                   $475.00             3.10           $1,472.50
R A Doringo               Associate/Business & Tort Litigation/2013                                   $425.00             1.60            $680.00
J V Feldman               Associate/Mergers & Acquisitions/2016                                       $450.00            45.60          $20,520.00
L B Gates                 Associate/Business & Tort Litigation/1988                                   $700.00            79.40          $55,580.00
G L Ghaul                 Associate/Business Restructuring & Reorganization/2013                      $575.00           148.10          $85,157.50
J M Hayes                 Associate/Energy/2012                                                       $450.00             4.40           $1,980.00
D P Hido                  Associate/Government Regulation/2014                                        $400.00             2.20            $880.00
B S Jacobs                Associate/Tax/2012                                                          $575.00            25.10          $14,432.50




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                                      SUMMARY OF COMPENSATION REQUESTED BY TIMEKEEPER FOR THE COMPENSATION PERIOD
                                                             October 31, 2017 - November 30, 2017


Name                         Title/Group/Bar Year                                                              Billing Rate           Hours Billed    Total Fees
D Karamanos                  Associate/Mergers & Acquisitions/2010                                               $725.00                      8.90          $6,452.50
I M Karoll                   Associate/Business & Tort Litigation/2009                                           $525.00                      3.40          $1,785.00
Y G Katz                     Associate/Labor & Employment/2014                                                   $400.00                      4.60          $1,840.00
M P Koslen                   Associate/Business & Tort Litigation/2016                                           $350.00                     32.90        $11,515.00
H A Liou                     Associate/Intellectual Property/2008                                                $700.00                    135.20        $94,640.00
R Q Liu                      Associate/Labor & Employment/2015                                                   $450.00                      5.50          $2,475.00
K N Mancini                  Associate/Banking & Finance/2016                                                    $450.00                     88.30        $39,735.00
C E Mendelsohn               Associate/Business & Tort Litigation/2009                                           $525.00                      4.00          $2,100.00
S J Miller                   Associate/Employee Benefits & Executive Compensation/2015                           $450.00                      6.50          $2,925.00
N J Morin                    Associate/Business Restructuring & Reorganization/2013                              $575.00                    152.60        $87,745.00
N P Nasrallah                Associate/New Lawyers Group/2016                                                    $375.00                     14.10          $5,287.50
S A Patel                    Associate/Banking & Finance/2008                                                    $800.00                     28.50        $22,800.00
P Saba                       Associate/Business Restructuring & Reorganization/2015                              $475.00                    180.10        $85,547.50
B W Stuart                   Associate/Business & Tort Litigation/2013                                           $425.00                     38.00        $16,150.00
K N Tobitsch                 Associate/Cybersecurity Privacy & Data Protection/2012                              $625.00                      2.80          $1,750.00
M M Toohey                   Associate/Business & Tort Litigation/2016                                           $350.00                     12.10          $4,235.00
J H Walsh                    Associate/Business & Tort Litigation/2016                                           $350.00                      0.80           $280.00
O S Zeltner                  Associate/Business Restructuring & Reorganization/2012                              $500.00                     43.20        $21,600.00
                                                                                  Total Associate                                        1,579.20        $956,702.50
         STAFF ATTORNEY
L C Fischer                  Staff Attorney/Business Restructuring & Reorganization/1996                          $475.00                     6.00          $2,850.00
                                                                                Total Staff Attorney                                          6.00         $2,850.00
            LAW CLERK
U Ali                        Law Clerk/New Lawyers Group/2017                                                    $425.00                      5.40         $2,295.00
M B De Vita                  Law Clerk/New Lawyers Group/--                                                      $475.00                      7.50         $3,562.50
A M Hemendinger              Law Clerk/New Lawyers Group--                                                       $475.00                     59.20        $28,120.00
S W Magnusson                Law Clerk/New Lawyers Group/--                                                      $475.00                      3.40         $1,615.00
S A Nelson                   Law Clerk/New Lawyers Group/2017                                                    $475.00                      9.20         $4,370.00
F Siddiqui                   Law Clerk/New Lawyers Group/2017                                                    $475.00                     14.70         $6,982.50
                                                                                     Total Law Clerk                                         99.40        $46,945.00
              PARALEGAL
M T Barrios                  Paralegal/Capital Markets/--                                                        $250.00                     16.20         $4,050.00
S Bryan                      Paralegal/Banking & Finance/--                                                      $350.00                      0.50          $175.00
M M Melvin                   Paralegal/Business Restructuring & Reorganization/--                                $325.00                     22.60         $7,345.00
                                                                                     Total Paralegal                                         39.30        $11,570.00
     STAFF / LEGAL SUPPORT
S A Kaiser                   Legal Support/Practice Support Project Manager/--                                   $250.00                     53.60        $13,400.00
M A Gilligan                 Staff/IP Research Manager/--                                                        $250.00                      0.30            $75.00
                                                                      Total Staff / Legal Support                                            53.90        $13,475.00
                                                                                                             Total Hours/Fees:            2,853.00     $1,988,887.50




                                                                                                       Less: 50% Non-Working Travel              --     ($19,675.00)
                                                                                                               Grand Total:               2,853.00     $1,969,212.50




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                         COMPENSATION BY PROJECT CATEGORY




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                                       EXPENSE SUMMARY




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


                                                                Chapter 11

In re:                                                          Case No. 17-12307 (BLS)

M & G USA CORPORATION, et al.,1                                 (Jointly Administered)

                                    Debtors.                    Objection Deadline: December 27, 2017 at 4:00 p.m.
                                                                (ET)




                     FIRST MONTHLY APPLICATION
                   OF JONES DAY FOR ALLOWANCE OF
            COMPENSATION FOR SERVICES RENDERED AND FOR
       REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE DEBTORS
    FOR THE PERIOD FROM OCTOBER 31, 2017 THROUGH NOVEMBER 30, 2017

                    Jones Day, counsel to the above-captioned debtors (collectively, the "Debtors"),

makes its first monthly fee statement (this "Monthly Fee Statement") for allowance of

compensation of $1,575,370.00 (80% of $1,969,212.50) and reimbursement of expenses of

$10,310.08 for the period from October 31, 2017 through November 30, 2017

(the "Compensation Period") in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals (Docket No. 308) (the "Interim

Compensation Order"). In support of this Monthly Fee Statement, Jones Day respectfully

represents as follows:




1
         The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
         numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M &
         G Polymers USA, LLC (7593), M&G Finance Corporation (4230), M&G Waters USA, LLC (2195), Mossi
         & Ghisolfi International S.à r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à r.l. (7812), M & G
         USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo
         American Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears
         Road, Suite 240, Houston, Texas 77067.



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                                 JURISDICTION AND VENUE

                    1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this

matter is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            Background

                    2.     On October 24, 2017 (the "Polymers Petition Date"), Debtor M&G

Polymers USA, LLC ("M&G Polymers") filed a voluntary petition for relief under chapter 11 of

the Bankruptcy Code and, thereafter, on October 30, 2017 (the "Petition Date"), each of the other

Debtors commenced chapter 11 cases before this Court (together with the chapter 11 case of

M&G Polymers, the "Cases"). The Debtors are continuing in possession of their properties and

are managing their businesses, as debtors in possession, pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

                    3.     An Official Committee of Unsecured Creditors (the "Committee") was

appointed in these Cases on November 13, 2017 (Docket No. 146). Additional information

regarding the Debtors and these Cases, including the Debtors' businesses, corporate structure and

financial condition, is set forth in the Declaration of Dennis Stogsdill in Support of First Day

Pleadings (Docket No. 3) (the "First Day Declaration"), filed on October 31, 2017 and

incorporated herein by reference.

                                       Jones Day's Retention

                    4.     On November 10, 2017, the Debtors filed the Application for an Order

Authorizing Them to Retain and Employ Jones Day as Counsel, Nunc Pro Tunc as of the Petition

Date (Docket No. 138) (the "Retention Application"), by which the Debtors sought to retain and

employ Jones Day as their counsel in these Cases. On November 30, 2017, this Court entered

the Order Authorizing the Debtors to Retain and Employ Jones Day as Counsel, Nunc Pro Tunc

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as of the Petition Date (Docket No. 300) (the "Retention Order"), authorizing the retention of

Jones Day as the Debtors' counsel.

                                The Interim Compensation Order

                    5.     On November 10, 2017, the Debtors filed the Motion for an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals (Docket No. 141) (the "Interim Compensation Procedures Motion"), which sought

to establish procedures for the compensation and reimbursement of professionals whose

retentions are approved by the Court pursuant to sections 327 or 1103 of the Bankruptcy Code on

a monthly basis and on terms comparable to the procedures established in other large chapter 11

cases. On December 1, 2017, this Court entered the Interim Compensation Order, which

approved the relief sought in the Interim Compensation Procedures Motion and authorized the

implementation of the interim compensation procedures contemplated therein.

                    6.     Specifically, the Interim Compensation Order provides that "[e]ach

Professional seeking monthly compensation must prepare monthly fee applications (each,

a "Monthly Fee Application") in accordance with Local Rules 2016-2(c)(i) and (ii), which shall

include (i) the information required by Local Forms 101 and 102 and (ii) a monthly invoice that

contains the fee and expense detail that describes the fees and expenses incurred by such

Professional." Interim Compensation Order, ¶ 2(a). The Interim Compensation Order further

provides that Monthly Fee Applications shall be filed no sooner than the 5th day following the

month for which fees are sought (id. at ¶ 2(b)), and that the first Monthly Fee Application for the

period commencing on October 30, 2017 through November 30, 2017, may be filed on or after

December 5, 2017 (id. at ¶ (2)(e)).




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                           JONES DAY'S APPLICATION FOR
                   COMPENSATION AND REIMBURSEMENT OF EXPENSES

                                   Compensation Paid and Its Sources

                   7.         Jones Day has received no payment for services rendered in any

capacity in connection with the matters covered in this Monthly Fee Statement, nor has it

received any promises for payment for matters covered by this Monthly Fee Statement, from any

source other than from the Debtors. There is no agreement or understanding between Jones Day

and any other person other than partners of Jones Day for the sharing of compensation to be

received from the services rendered in these Cases.

                   8.         As of the Petition Date, Jones Day held $56,294.31 as the balance of its

prepetition Retainer (as defined in the Retention Application). Jones Day expects to

(a) complete its reconciliation of prepetition expenses actually incurred through the Petition Date

no later than the filing of its first interim fee application in these Cases; (b) make a

corresponding adjustment to the amount of the Retainer on or about that date; and (c) disclose

such adjustment in its first interim fee application. Jones Day will not apply any portion of the

Retainer to fees and expenses incurred from and after the Petition Date unless and until

authorized to do so by further order of this Court.

                                        Itemization of Services
                                 Rendered and Disbursements Incurred

                   9.         Attached hereto as Exhibit A are the time records of Jones Day, which

provide a daily summary of the time spent by each Jones Day attorney2 and paraprofessional3

during the Compensation Period by project category. The blended hourly billing rate of


2
        Attorneys include partners, of counsel, counsel, associates, staff attorneys, and law clerks, as applicable
        during the Compensation Period.
3
        Paraprofessionals include paralegals, legal support personnel, project assistants and staff members, as
        applicable during the Compensation Period.


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attorneys for all services provided during the Compensation Period is $712.4 The blended hourly

billing rate of paraprofessionals for all services provided during the Compensation Period is

$269.5

                         10.     Attached hereto as Exhibit B is a detailed itemization of expenses for

    which Jones Day seeks reimbursement. Jones Day maintains the following policies with

    respect to Expenses:

                   (a)         No amortization of the cost of any investment, equipment or capital outlay
                               is included in the expenses. In addition, for those items or services that
                               Jones Day purchased from or contracted with a third party (such as outside
                               copy services), Jones Day seeks reimbursement only for the exact amount
                               billed to Jones Day by the third party vendor and paid by Jones Day to the
                               third party vendor.

                   (b)         Photocopying by Jones Day was charged at 10 cents per page. To the
                               extent practicable, Jones Day utilized less expensive outside copying
                               services.

                   (c)         Meals charged to the Debtors either were associated with (i) out-of-town
                               travel; (ii) meetings at Jones Day with the Debtors and other professionals;
                               or (iii) attorneys working late on matters concerning the Debtors.

                   (d)         Charges for airline and train travel include the cost of each airline or train
                               ticket used in connection with the provision of services to the Debtors.

                   (e)         Jones Day does not charge clients for Blackberry or other similar charges.

                   (f)         The time pressures associated with the services rendered by Jones Day
                               frequently require Jones Day's professionals and paraprofessionals to
                               devote substantial amounts of time during the evenings and on weekends.
                               To the extent that Jones Day has charged the Debtors for secretarial and
                               other staff overtime expenses, such expenses were directly associated with
                               such after-hours work and were necessary given the circumstances of
                               these Cases. Jones Day does not consider these to be part of its ongoing


4
         The blended hourly billing rate of $712 for attorneys is derived by dividing the total fees for attorneys of
         $1,963,842.50 by the total hours of 2,759.80 for those same attorneys, not taking into account any
         discounts for non-working travel.
5
         The blended hourly billing rate of $269 for paraprofessionals is derived by dividing the total fees for
         paraprofessionals of $25,045.00 by the total hours of 93.20 for those same paraprofessionals, not taking
         into account any discounts for non-working travel.


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                         overhead expenses because they are special incremental expenses arising
                         from the specific services being provided to the Debtors.

                   11.      Jones Day believes that the time entries set forth in the exhibit attached

hereto are in compliance with the requirements of Rule 2016-2 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware

(the "Local Rules").

                                     Total Fees and Expenses
                                Sought for the Compensation Period

                   12.      The total amount sought for fees for professional services rendered and

the reimbursement of expenses incurred for the Compensation Period are as follows:

                   Total Fees                                                  $1,969,212.50
                   Total Disbursements                                            $10,310.08
                   TOTAL                                                       $1,979,522.58

Pursuant to the Interim Compensation Order, Jones Day seeks payment from the Debtors in the

amount of $1,585,680.08, which represents (a) 80% of Jones Day's total fees for services

rendered during the Compensation Period and (b) 100% of the expenses incurred by Jones Day

during the Compensation Period.

                                         Billing Adjustments

                   13.      The total fees requested in this Monthly Fee Statement reflect

reductions totaling $33,448.75, which is comprised of a 50% reduction of $19,675.00 for time

spent on nonworking travel and a voluntary reduction of $13,773.75 as assessed by Jones Day in

reviewing invoices.

                                           CONCLUSION

                   14.      Jones Day attorneys and paraprofessionals expended a total of 2,853.00

hours in connection with their representation of the Debtors during the Compensation Period.

Employing Jones Day's normal hourly rates for work of this character, the reasonable value of

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the services rendered by Jones Day for the Debtors during the Compensation Period, after taking

into account the billing adjustments discussed above is $1,969,212.50. During the Compensation

Period, Jones Day also incurred expenses of $10,310.08. Pursuant to the Interim Compensation

Order, by this Monthly Fee Statement, Jones Day seeks payment from the Debtors in the amount

of $1,585,680.08, which amount represents (a) 80% of Jones Day's total fees for services

rendered during the Compensation Period and (b) 100% of the total disbursements incurred from

the Compensation Period (the "Requested Payment").

                   15.   In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, Jones Day respectfully submits that the amount requested is fair and

reasonable given (a) the complexity of the cases, (b) the time expended, (c) the nature and extent

of services rendered, (d) the value of such services and (e) the costs of comparable services

rendered in a case outside the Bankruptcy Code. Moreover, Jones Day has reviewed the

requirements of Local Rule 2016-2 and the Interim Compensation Order and believes that this

Monthly Fee Statement complies with such Local Rule and Order.

                                            NOTICE

                   16.   Jones Day will serve this Monthly Fee Statement in accordance with

the Interim Compensation Order and the Local Rules. Pursuant to the Interim Compensation

Order, objections to this Monthly Fee Statement, if any, must be in writing and filed with the

Court and served upon Jones Day so as to be received no later than December 27, 2017

(the "Objection Deadline"). If no objections to this Monthly Fee Statement are received by the

Objection Deadline, Jones Day is authorized to receive the Requested Payment pursuant to the

terms of the Interim Compensation Order and the Retention Order.




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Dated: December 5, 2017                       /s/Scott J. Greenberg
       Wilmington, Delaware                  JONES DAY
                                             Scott J. Greenberg
                                             Stacey L. Corr-Irvine
                                             250 Vesey Street
                                             New York, NY 10281
                                             Telephone:      (212) 326-3939
                                             Facsimile:      (212) 755-7306
                                             Email:          sgreenberg@jonesday.com
                                                            scorrirvine@jonesday.com

                                             and

                                             Carl E. Black
                                             901 Lakeside Avenue
                                             Cleveland, Ohio 44114
                                             Telephone:    (216) 586-7035
                                             Facsimile:    (216) 579-0212
                                             Email:        ceblack@jonesday.com

                                             Counsel for the Debtors and Debtors in
                                             Possession




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11

In re:                                                          Case No. 17-12307 (BLS)

M & G USA CORPORATION, et al.,1                                 (Jointly Administered)

                                    Debtors.

                           CERTIFICATION OF SCOTT J. GREENBERG

         Scott J. Greenberg, under penalty of perjury, certifies as follows:

                   1.          I am a partner with the law firm of Jones Day and have been admitted

to appear before this Court. I make this certification in accordance with Local Rule 2016-2

regarding the contents of applications for compensation and expenses. I have read the Monthly

Fee Statement and am familiar with the work performed on behalf of the Debtors by the

attorneys and paraprofessionals of Jones Day.

                   2.          The facts set forth in the foregoing Monthly Fee Statement are true and

correct to my knowledge, information and belief. I have reviewed Local Rule 2016-2 and the

Interim Compensation Order and submit that the Monthly Fee Statement substantially complies

with such Local Rule and the Interim Compensation Order.

Dated: December 5, 2017                                       /s/ Scott J. Greenberg
                                                             Scott J. Greenberg




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         The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
         numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M &
         G Polymers USA, LLC (7593), M&G Finance Corporation (4230), M&G Waters USA, LLC (2195), Mossi
         & Ghisolfi International S.à r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à r.l. (7812), M & G
         USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo
         American Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears
         Road, Suite 240, Houston, Texas 77067.



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